                       UNITED STATES DISTRICT COURT
                  WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                3:21-cv-248-MOC-DCK
DIANA RODRIGUEZ,                        )
                                        )
                  Plaintiff, pro se,    )
                                        )
vs.                                     )
                                        )
WELLS FARGO BANK, N.A.,                 )         ORDER
                                        )
                  Defendant.            )
___________________________________ )


       THIS MATTER is before the Court on Plaintiff Diana Rodriguez’s pro se “Motion to

Increase Relief.” (Doc. No. 24).

       In this employment discrimination action, Plaintiff’s pending motion seeks to increase the

amount of damages requested in her original Complaint from the requested $800,000 “for pain

and suffering” and $400,000 “for punitive damages” to $4,600,000 and $2,600,000, respectively.

She also newly requests $805,428 in “future earnings.” (Id.).

       Plaintiff’s motion is procedurally improper. If Plaintiff seeks to increase the damages

sought, she needs to file a motion to amend her Complaint, attaching a proposed Amended

Complaint.1

       IT IS, THEREFORE, ORDERED that:

       1.      Plaintiff’s Motion to Increase Relief, (Doc. No. 24), is DISMISSED.




1
 Defendant argues that Plaintiff’s motion should also be denied on the merits as futile because
she cannot recover the amount proposed by her motion. Although the Court agrees with
Defendant that Plaintiff is likely statutorily barred from recovering the amounts sought, the Court
declines to rule on the merits at this time.

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                    Signed: December 1, 2021




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